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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
ERIC SWINTOSKY and               *
HEATHER SWINTOSKY, as            *                 No. 12-403V
parents and natural guardians of *                 Special Master Christian J. Moran
their daughter, C.M.S.,          *
                                 *                 Filed: December 19, 2016
                   Petitioners,  *
                                 *                 Stipulation; influenza (“flu”);
v.                               *                 acute hemorrhagic
                                 *                 leukoencephalomyelitis (“AHLE”).
SECRETARY OF HEALTH              *
AND HUMAN SERVICES,              *
                                 *
                   Respondent.   *
*********************

Anne Carrion Toale, Maglio Christopher and Toale, PA, Sarasota, FL, for
Petitioner;
Claudia B. Gangi, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On December 15, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by Eric and Heather Swintosky, as parents and
natural guardians of their daughter C.M.S., on June 22, 2012. In their petition,
petitioners allege that the influenza (“flu”) vaccine, which is contained in the
Vaccine Injury Table, 42 C.F.R. §100.3(a), and which C.M.S. received on
September 9, 2009, caused her to suffer a stroke and develop acute hemorrhagic
leukoencephalomyelitis (“AHLE”). Petitioners further allege that C.M.S.
experienced residual effects of this injury for more than six months. Petitioners

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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represent that there has been no prior award or settlement of a civil action for
damages on behalf of C.M.S. as a result of her condition.

       Respondent denies that C.M.S. suffered a stroke or developed AHLE as a
result of her immunization and denies that the flu vaccine caused her any other
injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

      Damages awarded in that stipulation include:

         a. A lump sum of $617,027.40, which amount represents
            compensation for first year life care expenses ($206,402.40) and
            trust seed funds ($410,625.00), in the form of a check payable to
            Counsel Trust Company, as trustee of the grantor reversionary
            trust established for the benefit of C.M.S.;

         b. A lump sum of $1,089,257.36, which amount represents
            compensation for lost future earnings ($839,257.36) and pain and
            suffering ($250,000.00), in the form of a check payable to
            petitioners as guardian(s)/conservator(s) of the estate of C.M.S.
            for the benefit of C.M.S. No payments shall be made until
            petitioners provide respondent with documentation establishing
            that they have been appointed as guardian(s)/conservator(s) of
            C.M.S.’s estate;

         c. A lump sum payment of $4,779.49, which amount represents
            compensation for past reimbursable expenses, in the form of a
            check payable to petitioners, Eric Swintosky and Heather
            Swintosky; and

         d. A lump sum of $50,728.71, which amount represents
            reimbursement of a lien for services rendered on behalf of C.M.S.,
            in the form of a check payable jointly to petitioners and

                               Commonwealth of Pennsylvania
                               Department of Human Services
                               Division of Third Party Liability

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                                           Recovery Section
                                             P.O. Box 8486
                                       Harrisburg, PA 17105-8486
                                         Attn: Barbara Witmer
                                          CIS No: 990624514

                Petitioners agree to endorse this payment to the Commonwealth
                of Pennsylvania.

             e. An amount sufficient to purchase the annuity contract described
                in paragraph 10 of the stipulation, paid to the life insurance
                company from which the annuity will be purchased (the “Life
                Insurance Company”).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 12-403V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


ERIC and HEATHER SWINTOSKY, as          )
Parents and Natural Guardians of their  )
Daughter, C.M.S., .                     )
                                        )
          Petitioners,                  )             No. 12-403V
 v.                                     )             Special Master Moran
                                        )             ECF
SECRETARY OF HEALTH AND HUMAN )
SERVICES,                               )
                                        )
~----~---R__es~p_o_n_d_en_t_·~--------~ )
                                          STIPULATION

       The parties hereby stipulate to the following matters:

        1. On behalf of their daughter, C.M.S, petitioners filed a petition for vaccine

compen~ation   under the National Vaccine Injury Compensation Program, 42 U .S.C.

§300aa-10 to -34 (the "Vaccine Program''). The petition seeks compensation for injuries

allegedly related to C .M.S.'s receipt of the flu vaccine, which vaccine is contained in the

V accine Injury Table (the "Table"), 42 C.F.R. § 100.3 (a).

       2. C .M .S. received her immunization on or about September 19, 2009.

       3. The vaccine was administered within the United States.

       4 . Petitioners allege that C .M.S. suffered a stroke and developed acute hemorrhagic

leukoencephalomyelitis ("AHLE") as a result of her immunization. Petitioners further allege

that C.M.S. experienced residual effects of this injury for more than six months.

       5. Petitioners represent that there has been no prior award or settlement of a civil action

for damages on behalfof C.M.S. as a result of her condition.




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       6. Respondent denies that C.M.S. suffered a stroke or developed AHLE as a result of her

immunization and denies that the flu vaccine caused her any other injury.

       7. Maintaining their above-staled positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioners have filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments :

       a. A lwnp sum of $617 ,027.40, which amount represents compensation for first year life
       care expenses ($206,402.40) and trust seed funds ($4 10,625.00), in the form of a check
       payable to Counsel Trust Company, as trustee of the grantor reversionary trust
       established for the benefit of C .M.S.;

       b. A lump sum of$1 ,089,257 .36, which amow1t represents compensation for lost future
       earnings ($839,257.36) and pain and suffering ($250,000.00), in the form of a check
       payable to petitioners as guardian(s)/conservator(s) of the estate of C.M.S. for the benefit
       of C.M.S. No payments shall be made until petitioners provide respondent with .
       documentation establishing that they have been appointed as guardian(s)/conservator(s)
       of C.M.S.'s estate;

       c. A lump sum of $4,779.49, which amount represents compensation for past
       unreimbursable expenses, in the form of a check payable to petitioners, Eric Swintosky
       and Heather Swintosky;

       d. A lump sum of $50,728.71, which amount represents reimbursement of a lien for
       services rendered on behalfof C.M.S., in the form of a check payable jointly to
       petitioners and

                                 Commonwealth of Pennsylvania
                                 Department of Human Services
                                 Division of Third Pruty Liability
                                        Recovery Section
                                         P.O. Box 8486
                                   Harrisburg, PA 17105-8486
                                      Attn: Barbara Witmer
                                       CIS No: 990624514

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Petitioners agree to endorse this payment to the Commonwealth of Pennsylvania.
                         '
       e. An amount sufficient to purchase the annuity contract described in paragraph 1O
       below, paid to the life insurance company from which the annuity will be purchased (the
       "Life Insurance Company").

       9. The Life Insurance Company must have a minimum of$250,000,000 capital and

surplus, exclusive of any mandatory security vuluation reserve. The Life Insurance Company

must have one of the following ratings from two of the following rating organizations:

       a.       A.M. Best Company: A-++, A+, A+g, A+p, A+r, or A+s;

       b.       Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa 1, or Aaa;

       c.       Standard and Poor's Corporation Insurer Claims-Paying Abili1y Rating: AA-,
                AA, AA+, or AAA; .

       d.       Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rati ng:
                AA-, AA, AA+, or AAA.

       10. The Secretary of Health .and Hwnan Services agrees to purchase an annuity contract

from the Life Insurance Company for the benefit of C.M.S., pursuant to which the Life Insurance

Company will 'agree to make payments periodically to the trustee for the following items of

compensation:

       a. For future unreimbursable Affordable Care Act Premium expenses, beginning on the
          · first anniversary of the date ofjudgment, an annual amount of$3,240.00 to be paid up
            to the anniversary of tile date of judgment in year 2026. Then, beginning on the
            anniversary of the date of judgment in year 2026, an annual amount of$5,100.00 to
            be paid up to the anniversary of the date of judgment in year 2030. Then, on the
            anniversary of the date of j.udgment in year 2030, a lump sum of$5,124.00. Then, on
            the anniversary of the date of judgment in year 203 1, a lump sum of$5 ,220.00.
           Then, on the anniversary of the dutc of judgment in year 2032, a lump sum of
            $5,352.00. Then, on the anniversary of the date of judgment in year 2033, a lump
            sum of $5,544.00. Then, on the anniversary of the date of judgment in year 2034, a
            lump sum of$5,712.00. Then, on the anniversary of the date of judgment in year
            2035, a lump sum of$5, 796.00. Then, on the anniversary of the date of judgment in
            year 2036, a lump sum of$5,916.00. Then, on the anniversary of the date of
           judgment in year 2037, a lump sum of $6,036.00. Then, on the anniversary of the
            date of judgment in year 2038, a lump sum of$6,108.00. Then, on the anniversary of
            the date of judgment in year 2039, a lump sum of $6, 192.00. Then, on the

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     anniversary of the date of judgment in year 2040, a lwnp sum of$6,240.00. Then, on
     the anniversary of the date of judgment in year 2041, a lump sum of $6, 726.00, all
     amounts increasing at the rate of five percent (5%), compounded annually from the
     date of judgment.

  b. For future unreimbursable Medicare Part D Premium, Medicare Part B Deductible,
     and Medicare Part D expenses, beginning on the anniversary of the date of judgment
     in year 2042, an annual amount of $4,914.70 to be paid for the remainder of C.M.S. 's
     life, increasing at the rate of five percent (5%), compounded annually from the date of
     judgment.

  c. For future unreimbursable Medigap expenses, beginning on the anniversary of the
     date of judgment in year 2042, an annual amount of$1,458.00 to be paid up to the
     anniversary of the date of judgement in year 2070. Thereafter, beginning on the
     anniversary of the date of judgment in year 2070, an annual amount of$2,580.84 to
     be paid for the remainder of C.M.S. 's life, all amounts increasing at the rate of five
     percent (5%), compounded annually from the date of judgment.

  d. For future unreimbursable Primary Care Physician, Neurology, Ophthalmologist,
     Endocrinology, Gastroenterology/Nutritionist, Orthopedist, Emergency Room,
     Banze~ Zonisamide, and Diastat expenses, beginning on the first anniversary of the
     date of judgment, an annual amount of$2,899.00 to be paid up to the second
     anniversary of the date of judgment. Then, beginning on the second anniversary of
     the date ofjudgment, an annual amount of$2,849.00 to be paid up to the anniversary
     of the date of judgment in year 2022. Then, on the anniversary of the date of
     judgment in yeur 2022; a lump sum of$2,824.00. Then, on the anniversary of the
     date of judgment in year 2023, a lwnp sum of $2,811.50 . Then, beginning on the
     anniversary of the date of judgment in year 2024, an annual amount of$2,761.50 to
     be paid up to the anniversary of the date of judgment in year 2041. Then, on the
     anniversary of the date of judgment in year2041, a lump sum of$2,699.00, all
     amounts increasing at the rate of five percent (5%), compounded annually from the
     date of judgment.

  c. For future unreimbursable Primary Care Physician Mileage, Neurology Mileag~,
     Ophthalmologist Mileage, Endocrinology Mileage, Gastroenterology Mileage,
     Orthopedist Mileage, Behaviorist Mileage, Physical Therapy Mileage, Occupational
     Therapy Mileage, Speech Therapy Mileage, and Camp Mileage ex penses, beginning
     on the first anniversary of the date of judgment, an annual amount of $509.96 to be
     paid up to the second anniversary of the date of judgment. Then, beginning on the
     second anniversary of the date of judgment, an annual amount of$410.40 to be paid
     up to the anniversary of the date of judgment in year 2022. Then, on the anniversary
     of the date of judgment in year 2022, a lump s um of $397.10. Then, on the
     anniversary of the date of judgment in year 2023, a lump sum of $390.45 . Then, on
     the anniversury of the date of judgment in year 2024, a lwnp swn of $358.53. Then,
     beginning on the anniversary of the date of judgment in yeur 2025, an annual amount
     of $323 .95 to be paid up to the anniversary of the date of judgment in year 2041 .

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       Then, on the anniversary of the date of judgment in year 2041, a lump swn of
       $289.37. Then, on the anniversary of the date of judgment in year 2042, a lump swn
       of $310.65. Thereafter, beginning on the anniversary of the date of judgment in year
       2043, an annual amount of$300.0l to be paid fur the remainder of C.MS. 's life, all
       amounts increasing at the rate of four percent (4%), compounded annually from the
       date of judgment.

  f.   For future unreimbursable Behaviorist expenses, begiMing on the first anniversary of
       the date ofjudgment, an annual amount of $350.00 to be paid up to the anniversary of
       the date of judgment in year 2024, increasing at the rate of four percent (4%),
       compounded rumually from the date of judgment.

  g. For future unreimbursable Care Management expenses, beginning on the first
     anniversary of the date of judgment, an annual amount of$2,580.00 to be paid up to
     the rumiversary of the date ofjudgment in year 2025. Then, on the anniversary of the
     date of judgment in year 2025, a lump sum of $7,740.00. Thereafter, begirming on
     the anniversary of the date of judgment in year 2026, an annual amount of $5, 160.00
     to be paid for the remainder of C.M.S.'s life, all amounts increasing at the rate of fo ur
     percent (4%), compounded annually from the date of judgment.

  h. For future unreimbmsable Vitamin D, Melatonin, Miralax, and Benefiber expenses,
       beginning on the first anniversary of the date of judgment, an annual amount of
       $125.94 to be paid for the remaindt:r of C.M.S. 's life, increasing at the rate of four
       percent (4%), compounded annually from the date of judgment.

  1.   For future unreimbursable Diaper, Glove, Wipe, Disposable Underpad, and Washable
       Underpad expenses, beginning on the first anniversary of the date of judgment, an
       annual amount of$4,137.70 to be paid for the remainder ofC.M.S.'s life, increasing
       at the rate of four percent (4%), compounded annually from the date of judgment.

  j.   For future unreimbursable Physical Therapy and Occupational Therapy expenses,
       beginning on the first anniversary of the date ofjudgment, an annual amount of
       $600.00 to be paid up to the anniversary of the date of judgment in year 2042,
       increasing at the rate of four percent (4%), compounded annually from the date of
       judgment.

  k. For future unreimbursable Therapy Equipment, Augmentative Communication, and
     Walking Stick expenses, beginning on the first anniversary of the date of judgment,
     an annual amount of S850.00 to be paid.up to the second anniversary of the date of
     judgment. Thereafter, begiMing on the second anniversary of the date of judgment,
     an annual amount of $600.00 to be paid for the remainder of C.M.S. 's life, all
     amotmts increasing at the rate of four percent (4%), compounded annually from the
     date of judgment.

  l.   For future unrcimbursable Speech Therapy expenses, beginning on the first
       anniversary of the date of judgment, an annuaJ amount of $625.00 to be paid up to the

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     second anniversary of the date of judgment. Then, beginning on the second
     anniversary of the date of judgment, an annual amount of $325.00 to be paid up to the
     anniversary of the date of judgment in year 2025. Then, beginning on the anniversary
     of the date of judgment in year 2025, an annual amount of $162.50 to be paid up to
     the anniversary of the date of judgment in year 2041. Then, on the anniversary of the
     date of judgment in year 2042, a lump sum of $600.00. Thereafter, beginning on the
     aru1iversary of the date of judgment in year 2043, an annual amount of $300.00 to be
     paid for the remainder of C.M.S. 's life, all amounts increasing at the rate of four
     percent (4%), compounded annually from the date of judgment.

  m. For future unreimbursable Special Needs Camp expenses, beginning on the first
     anniversary of the date of judgment, an annual amount of$625.00 to be paid up to the
     anniversary of the date of judgment in year 2024. Thereafter, beginning on the
     anniversary of the date of judgment in year 2024, annual amount of $750.00 to be
     paid for the remainder of C.M.S. 's life, all amounts increasing at the rate of four
     pen;ent (4%), compounded annually from the date of judgment.

  n. For future unreimbursable Stroller/Wheelchair and Shower Transfer Chair expenses,
     on the anniversary of the date of judgment in year 2020, a lwnp sum of$2,675.00.
     Then, on the anniversary of the date of judgment in year 2023, a lump SllIIl of
     $181.80. Then, on the 1.mniversury of U1e date of judgment in year 2025, a lwnp swn
     of$2,675.00. Then, on the anniversary of the date of judgment in year 2030, an
     annual amount of $2,856. 80. Then, on the anniversary of the date of judgment in
     yeur 2035, a lump· sum of $2,675.00. Then, on the anniversary of the date of
     judgment in year 2036, a lump sum of$535.00. Then, on the anniversary of the date
     of judgment in year 2037, a lump sum of $716.80. Thereafter, beginning on the
     ariniversary of \h~ date ofjudgment in year 2038, an annual amoun~ of $560.97 to be
     paid for the remainder of C.M.S.'s life, 11ll amounts increasing at the rate of four
     percent (4%), compounded annually from the date of judgment.

 o. For future unreimbursable Attendant Care (School Days and Non-School Days),
    beginning on the first anniversary of the date·of judgment,an   annual amount of
    $100, 700.00 to be paid up to the anniversary of the date of judgment in year 2027,
    increasing at the rate of four percent (4%), compounded annually from the date of
    judgment.

 p. For future wueimbursable Live-in Attendant Care/Residential Care expenses,
    beginning on the anniversary of the date of judgment in year 2027, an annual amount
    of $82, 125.00 to be paid up to the anniversary of the date of judgment in year 2060.
    Thereafter, beginning on the anniversary of the date of judgment in year 2065, an
    annual amount of $82, 125.00 to be paid for the remainder of C.M.S.'s life, all
    amounts increasing at the rate of four percent (4%), compounded annually from the
    date ofjudgment




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        q. For future unreimbursable Ancillary Service (Housekeeping) expens·e s, beginning on
           the anniversary of the date of judgment in year 2027, an annual amount of $1,638.00
           to be paid for the r~runder of C.M.S. 's life, increasing at the rate of four percent
           (4%), compounded annually from the date ofjudgment

        r.   For future unreimbursable Accessible Van expenses, on the anniversary of the date of
             judgment in year 2023, a lump swn of$ I 0,000.00. Then, on the anniversary of the
             date of judgment in year 2030, a lump sum of$10,000.00. Thereafter, beginning on
             the anniversary of the date of judgment in year 203 1, an annual amount of $ 1,428.57
             to be paid for the remainder of C.M.S. 's life, all amounts increasing at the rate of four
             percent (4%), compounded annuall y from the date of judgment.

At the sole discretion of the Secretary of Health and Human Services, the periodic payments may

be provided to the trustee in monthly, quarterly, annual or other installments. The "annual

amounts" set forth above describe only the total yearly sum to be paid to the trustee and do not

require that the payment be made in one annual installment. TI1e trustee will continue to receive

the annuity payments from the Life Insurance Company only so long as C.M.S. is alive at the

time that a particular payment is due. Written notice to the Secretary of Health and Human

Services, the trustee, and the Life Insurance Company shall be provided within twenty (20) days

of C.M.S.'s deuth.

        11. The annuity contract will be owned solely and exclus~vely by the Secretary of Health

and Human Services and will be purchased as soon as practicable following the entry of a

judgment in conformity with this Slipulation. The parties stipulate and agree that the Secretary

of Health and Human Services and the United States of America are not responsible for the

payment of any sums other than the amounts set forth in paragraph 8 herein and the amounts

awarded pursuant to paragraph 12 herein, and that they do not guarantee or insure any of the

future mmuity payments. Upon the purchase of the alUluity contract, the Secretary of Health and .

Human Services and the United Stales of America are n :leased from any and all obligations with

respect to future annuity payments.


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        12. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioners have filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        13. Petitioners and their attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300an-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that proyide health services on a pre-paid basis.

        14. Payments made pursuant to paragraph 8 and any amounts awurded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-1 S(i),

subject to the availability of sufficient statutory funds.

        15. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees, and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation either immediately or as part of the annuity contract, will be used

solely for the benefit of C .M.S., as contemplated by a strict construction of 42 U .S.C.

§300aa-1S(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-l S(g) and (h).

        16. Petitioners represent that they presently are, or within 90 days of the date of

judgment will become, duly authorized to serve as guardian(s)/conservator(s) of C.M.S. 's estate

under the laws of the Commonwealth of Pennsylvania. No payments pursuant to this Stip ulation

shall be made until petitioners provide the Secretary with documentation est~blishing their

appointment as guardian(s)/conservator(s) of C.M.S.'s estate. If petitioners are not authorized by


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a court of competent jurisdiction to serve as guardian(s)/conservator(s) of the estate of C.M.S. at

the time a payment pursuant to this Stipulation is to ~e made, any such payment shall be paid to

the party or parties appointed by a court of competent jurisdiction to serve as guardian(s)/

conservator(s) of the estate of C.M. S. upon submission of written documentation of such

appointment to the Secretary.

        17. In return for the payments described in paragraphs 8 and 12, petitioners, in their

individual capacities and as legal representatives of C.M.S., on behalf of themselves, C.M.S., and

her heirs, executors, administrators, successors or assigns, do forever irrevocably and

unconditionally release, acquit and discharge the United States and the Secretary of Health and

Human Services from any and all actions or causes of action (including agreements, judgments,

claims, damages, loss of services, expenses and al 1 demands of whatever kind or nature) that

have been brought, could have been brought, or could be timely brought in the Court of Federal

Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300 aa-10 et

seq., on account of, or in any way growing out of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of C.M.S. resulting from, or alleged to have resulted

from the flu vaccination administered on or about September 19, 2009, as allcgc,'Cl by petitioners

in a petition for vaccine compensation filed on or about June 22, 2012 in the United States Court

of Federal Claims as petition No. 12-403 V.

        18. If C.M.S. should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        19. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'


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settlement and this Stipulatioll'shall be voidable at the sole discretion of either party.

        20. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and Wlderstand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        2 1. Petitioners hereby authorize respondent to disclose documents filed by petitioners in

this case consistent with the Privacy Act an<l the routine uses described in the Natfonal Vaccine

Injury Compensation Program System of Records, No. 09-1 5-0056.

       22. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that C.M.S. suffered a stroke or developed AHLE as a

result of her flu immunization or that her cWTent condition is a sequelae of her alleged injury or

any other vaccine injury.

       23. All rights and obligations of petitioners hereunder shall apply equally to petitioners'

heirs, executors, administrators, successors, and/or assigns as legal representatives of C.M.S.

                                      END OF STIPULATION




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                Respectfully s\lbmitted,




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                AUTBORJZED REP                                    ATTORNEY OF RECORD FOR
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                                                                  CTA~
                AND ..,,,.., ...,ll".,


                               N AIR,M.D.
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